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Message

From: Candice Blake [candice@florabama.com]

Sent: 3/7/2013 1:58:44 PM

To: Lauren Rosenberg [lrosenberg@51minds.com]

ce: John McInnis lll [john @florabama.com]; Pat McClellan [pat@florabama.com]
Subject: Re: TV Opportunity...

Awesome, I will get those to you soon.

When is the best time for the Skype call with Pat?

On Thu, Mar 7, 2013 at 1:23 PM, Lauren Rosenberg <lrosenberg@5 lminds.com> wrote:
Great! My address is below. Thanks.

Lauren Rosenberg
Manager of Development

Never Nominated Productions
51 Minds Entertainment

5200 Lankershim Blvd.

Suite 200

North Hollywood, CA 91601
Office: 818.643.8265

Cell: 818.399.3239

From: John Mcinnis Ill <john@florabama.com>

Date: Thu, 7 Mar 2013 12:56:29 -0600

To: "lrosenbere @5iminds.com" <lrosenberg@5iminds.com>
Ce: ‘Candice Blake’ <candice@florabama.com>

Subject: RE: TV Opportunity...

Lauren

Sorry for the delay. We are swamped setting up for season. Candice will work with you to set up a Skype interview with
my partner Pat Mcleland for a start. Please give her a mailing address and she will send you two documentaries on the
FloraBama that you need to watch.

Last American Roadhouse and Mullet Men

From: Lauren Rosenberg [mailto:lrosenberg@5iminds.com]
Sent: Thursday, February 28, 2013 8:26 PM

To: John McInnis

Subject: Re: TV Opportunity...

EXHIBIT

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Hi John,

| hope you've been well. | just wanted to follow up with you regarding the Skype sessions | wanted to do with your some of your star, television-worthy
staff. Let me know how you want to go about setting. Have a great evening.

All best,

Lauren

From: Candice Blake <candice@florabama.com>

Date: Thu, 21 Feb 2013 12:34:27 -0600

To: John McInnis <jiohn@florabama.com>, “lrosenberg@5iminds.com" <lrosenberg@5iminds.com>
Subject: TV Opportunity...

John,

Here is Lauren's information so that you can give her a call after lunch.

Lauren Rosenberg
Never Nominated Productions

51 Minds Entertainment
5200 Lankershim Blvd.
North Hollywood, CA 91601
Office: 818.643 8265

Candice Blake

Marketing/PR
Flora-Bama

(205) 960-1887

candice@florabama.com

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Candice Blake
Marketing/PR
Flora-Bama

(205) 960-1887
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